Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 1 of 9




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Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 2 of 9
Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 3 of 9
Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 4 of 9
Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 5 of 9
Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 6 of 9
Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 7 of 9
Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 8 of 9
Case 5:11-cv-01846-LHK Document 3711-12 Filed 05/07/18 Page 9 of 9
